        Case 1:25-cv-00403-DLF          Document 11        Filed 02/21/25      Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


MENNONITE CHURCH USA, et al.,

       Plaintiffs,

       v.

UNITED STATES DEPARTMENT OF                                Civil Action No. 25-CV-00403-DLF
HOMELAND SECURITY, et al.,

       Defendants.




                       MOTION FOR PRELIMINARY INJUNCTION


       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiffs hereby

move this Court to issue a preliminary injunction enjoining Defendants from carrying out

immigration enforcement activities at their places of worship, absent exigent circumstances or the

execution of a judicial warrant, and to stay the effective date of DHS’s 2025 Rescission Memo, for

the reasons explained in the accompanying memorandum of law.
       Case 1:25-cv-00403-DLF        Document 11          Filed 02/21/25   Page 2 of 2



Dated: February 21, 2025                   Respectfully submitted,

                                           /s/ Kelsi Brown Corkran
                                           Kelsi Brown Corkran (Bar No. 501157)
                                           Shelby B. Calambokidis (Bar No. 1684804)
                                           Julia Gegenheimer* (NY Bar No. 4949475)
                                           Alexandra Lichtenstein (Bar No. 1724947)
                                           Kate Talmor* (Maryland Bar)
                                           INSTITUTE FOR CONSTITUTIONAL ADVOCACY
                                               AND PROTECTION
                                           600 New Jersey Avenue, NW
                                           Washington, DC 20001
                                           (202) 661-6728

                                           Attorneys for Plaintiffs


*Pro hac vice application forthcoming. DC Bar application pending, practice pursuant to Rule
49(c)(8), DC Courts, and supervised by DC Bar member




                                              2
